  Case 19-31473-ABA              Doc 88-1 Filed 04/26/22 Entered 04/26/22 19:08:42                 Desc
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GRUENEBERG LAW GROUP, LLC
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Executive Court
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Attorney for Chapter 7 Trustee, Andrew Sklar, Esquire


                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY

  In re:                                                     Hon. Andrew B. Altenburg, Jr.

  HOVATTER, FRIEDMAN, SAPUTELLI & LEVI,                      Case No. 19-31473 (ABA)
  LLP,
                                                             Chapter 7
                       Debtor.
                                                             Hearing Date And Time: May 24, 2022 at
                                                             10:00 a.m.


                  NOTICE OF MOTION TO APPROVE SETTLEMENT AGREEMENT
                    BETWEEN ANDREW SKLAR, AS CHAPTER 7 TRUSTEE OF
                  HOVATTER, FRIEDMAN, SAPUTELLI & LEVI, LLP, CHARLES N.
                               PERSING AND BEDERSON, LLP

 TO:       All Parties-in-Interest

           PLEASE TAKE NOTICE that on May 24, 2022 at 10:00 a.m., or as soon thereafter as counsel

 may be heard, the undersigned counsel for Andrew Sklar, as Chapter 7 trustee (the "Trustee") for Hovatter,

 Friedman, Saputelli & Levi, LLC ("Debtor"), shall move before the Honorable Andrew B. Altenburg,

 Jr., United States Bankruptcy Judge, at the United States Bankruptcy Court, Mitchell H. Cohen U.S.

 Courthouse, 400 Cooper Street, 4th Floor, Camden, N.J. 08101, Courtroom 4B, for entry of an order (the

 "Order") approving the settlement agreement ("Settlement Agreement") by and between the Trustee,

 Charles N. Persing and Bederson, LLP which is attached as Exhibit A to the Certification of Andrew Sklar

 in support of the Motion, and for related relief (the "Motion").

           PLEASE TAKE FURTHER NOTICE that in support of the Motion, the undersigned shall rely

 on the accompanying Certification of Andrew Sklar and Memorandum of Law which set forth the relevant

 factual and legal bases upon which the relief requested should be granted. A proposed Order granting the

 relief requested in the Motion is submitted herewith.
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         PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in the Motion

 shall be filed with the Court and served upon the undersigned no later than seven (7) days prior to the

 hearing date hereupon. Unless objections are timely filed and served, the relief requested in the Motion

 may be granted without further notice or hearing.

         PLEASE TAKE FURTHER NOTICE that the undersigned requests oral argument on the return

 date of the Motion if objections are timely filed.



                                                      Respectfully submitted,

                                                      GRUENEBERG LAW GROUP, LLC
                                                      Attorneys for Andrew Sklar, Chapter 7 Trustee


                                          By:         /s/ Rudi Grueneberg____
                                                      Rudi Grueneberg, Esq.

Dated: April 22, 2022
